Case 6:19-cv-01340-CEM-GJK Document 23 Filed 01/24/20 Page 1 of 6 PageID 75



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


JESUS MARTINEZ RODRIGUEZ,

       PLAINTIFF,
                                                     CASE NO.: 6:19-cv-01340-CEM-GJK
v.

COEI, LLC, a Florida
Limited Liability Company,

       DEFENDANT.


                 RESPONSE OF COEI, LLC TO THE ORDER OF JANUARY 10, 2020

       On January 10, 2020, the Court rendered an Order [Doc. 22] expressing concerns about

two provisions in the parties’ proposed settlement of Plaintiff’s FLSA claims [Doc. 21-1]. First,

the Court generally questioned the reasonableness and probity of releasing non-parties not

identified on any Certificate of Interested Persons as part of the FLSA release in Paragraph 5.

Second, the Court expressed concern that Paragraph 6 would be construed as an estoppel

intended to provide a broader release than expressed in Paragraph 6, inquiring whether that was

COEI’s intent.

       In brief, COEI submits that, first, the release of non-parties for the FLSA claims in

Paragraph 5 is reasonable and can be approved under existing law of the Middle District of

Florida. Second, the intent of Paragraph 6 was not intended to provide a release, but rather, act as

a disclosure. Still, the provision is not integral to the Agreement and can be removed. A more

detailed response to each concern is set forth below. COEI respectfully submits that the Joint

Motion should be granted and the settlement agreement approved.




                                                 1
Case 6:19-cv-01340-CEM-GJK Document 23 Filed 01/24/20 Page 2 of 6 PageID 76



1.     This Court Should Approve the Release of Non-Parties Because the Release is
       Limited to the Claims Raised in the Complaint.

       It is reasonable and appropriate to include non-parties in settlement releases based on the

law, the Middle District’s policy, and other important considerations.

       A. Background Law Regarding FLSA Liability.

       It is worth observing the following precedential points regarding FLSA liability:

              The FLSA defines “employer” quite broadly:
                  “Employer” includes any person acting directly or indirectly in the
                  interest of an employer in relation to an employee and includes a public
                  agency but does not include any labor organization (other than when
                  acting as an employer) or anyone acting in the capacity of officer or agent
                  of such labor organization.
               29 U.S.C. § 203(d) (emphasis added).
              This broad definition exists because the FLSA was designed to impose liability on
               anyone who controls a business’s financial affairs and causes the business to
               improperly pay employees. See Lamonica v. Safe Hurricane Shutters, Inc., 711
               F.3d 1299, 1313 (11th Cir. 2013).
              Because of this broad scope, all entities or individuals who are the “employer” of
               an “employee” are jointly and severally liable for unpaid wages or overtime. See
               id. at 1314 (relying on Alvarez Perez v. Sanford-Orlando Kennel Club, Inc., 515
               F.3d 1150, 1160 (11th Cir. 2008)); see also Kendrick v. Eagle Int'l Group, LLC,
               Civ. No. 08-80909, 2009 WL 3855227, at *3 (S.D. Fla. Nov. 17, 2009)
               (unreported) (citing Falk v. Brennan, 414 U.S. 190, 195 (1973)) (observing that
               an FLSA plaintiff may seek relief from multiple employers, as the statute
               “contemplates that there may be several simultaneous employers who are
               responsible for compliance with the FLSA.”).

              Under joint and several liability, “[i]f two or more defendants jointly cause harm,
               each defendant is held liable for the entire amount of the harm; provided,
               however, that the plaintiff recover only once for the full amount.” Honeycutt v.
               U.S., --- U.S. ---, 137 S. Ct. 1626, 1631 (2017) (citing REST. (2D) TORTS § 875
               (1977)).

On that later point, this Honorable Court has recommended a default judgment be issued against

a business and its owner may be held jointly and severally liable in an FLSA lawsuit. See Davis

v. D&G Erectors Corp., 2019 WL 3383547, at *5 (M.D. Fla. May 29, 2019) (Smith, M.J.).




                                                2
Case 6:19-cv-01340-CEM-GJK Document 23 Filed 01/24/20 Page 3 of 6 PageID 77



       B. Applicable Case Law Supports the Non-Party Release Here.

       When a release contained in a settlement agreement is limited to wage claims, courts in

the Middle District have approved the release even when the FLSA plaintiff releases non-parties.

See e.g. Bachmann v. Hartford Fire Insurance Co., 6:16-cv-1603-Orl-37LRH, 2019 WL

1435989 (M.D. Fla. Mar. 29, 2019) (Dalton, J.) (adopting Dearth v. Hartford Fire Insurance

Co., 6:16-cv-1603-Orl-37LRH, 2019 WL 1417323, at *4 (M.D. Fla. Mar. 28, 2019)

(recommending approval of FLSA release extending to Defendants’ “parents, predecessors,

subsidiaries, affiliates, and their past and present directors, officers, shareholders, members,

employees, agents, insurers and attorneys”); Marte v. Gizmo Orlando, Inc., 6:18-cv-596-Orl-

37KRS, 2018 WL 3084007, at *1 (M.D. Fla. June 22, 2018); Dumas v. 1 Able Realty, LLC, No.

6:17-cv-765-Orl-37KRS, 2018 WL 1791535, at *1 (M.D. Fla. Apr. 16, 2018); Monserrate v.

Hartford Fire Ins. Co., No. 6:14-cv-149-Orl-37GJK, 2016 WL 5847123, at *2 (M.D. Fla. Oct. 6,

2016). 1

       COEI would respectfully submit that, to the extent there is an established policy

prohibiting release of non-parties, that policy only applies to instances where the non-parties

receive broad releases. Compare id. with Arguelles v. Noor Baig, Inc., 6:16-cv-2024-Orl-27TBS,

2017 U.S. Dist. LEXIS 260241 (M.D. Fla. Feb. 24, 2017) (unpublished) (Dalton, J.) (rejecting

general release while also expressing some skepticism about whether non-parties could be part of

an FLSA limited release). That policy is not violated here because the release in Paragraph 5

limits itself to wage claims. See Bachmann, 2019 WL 1435989 (adopting recommendation that

released non-parties in a limited release of FLSA claims).




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       Counsel regrets being unable to provide a parallel Westlaw citation to confirm with the other
       citations in this brief.


                                                3
Case 6:19-cv-01340-CEM-GJK Document 23 Filed 01/24/20 Page 4 of 6 PageID 78



       C. Additional Considerations Support the Non-Party Release Here.

       Moreover, there is a factual basis explaining why COEI seeks a release of related non-

party FLSA “employers” in this matter. As noted in earlier filings and disclosed to opposing

counsel, Plaintiff previously executed a Receipt for Payment of Back Wages, Liquidated

Damages, Employment Benefits, or Other Compensation that the DOL oversaw—a copy of

which is attached as Exhibit “1.” This Department of Labor resolution involved some of the very

same claims brought in this Complaint. If this matter proceeded to trial, COEI submits that it

would establish that Plaintiff received full compensation from another FLSA “employer” for any

FLSA claims occurring on or before October 2018 for which he asserts COEI is also liable,

which the DOL oversaw. Because of past conduct, COEI’s owners, operators, and other

interested parties have a reasonable fear that Plaintiff might decide to file another lawsuit for the

ostensibly settled FLSA claims if the Settlement Agreement was limited to COEI as the named

defendant.

       Although not dispositive in this instance, COEI submits that a policy prohibiting a

plaintiff—represented by competent counsel—to provide a limited release to non-parties, like

owners, is unsound. COEI again acknowledges the concerns courts have expressed that

employers might unfairly parley an FLSA lawsuit into a windfall through a general release. At

the same time, employees should not be incentivized to churn frivolous or marginal claims into

repeated settlements because the economies of such litigation do not favor defendants who are

jointly and severally liable.

       Individual defendants who are not named in a lawsuit—such as business owners—would

arguably be subject to future lawsuits as joint and severally liable employers. In any subsequent

litigation, the individual defendants would invariably seek to apply estoppel principals. But, an




                                                 4
Case 6:19-cv-01340-CEM-GJK Document 23 Filed 01/24/20 Page 5 of 6 PageID 79



FLSA settlement must—based on Eleventh Circuit case law—be a compromise of a disputed

claim. Under such precedence, a plaintiff could (and likely would) argue that a full resolution did

not happen in the prior case; and therefore, the plaintiff is entitled to full redress and can

maintain the action. Failing to afford such individuals—the individuals who are ultimately

paying a settlement—a release invites a multiplicity of lawsuits for the exact same matters,

potentially disincentivizing settlements.

       In light of the foregoing considerations, COEI submits that it is reasonable and

appropriate to release non-parties in this matter.

       D. Alternative Release Language for the Court’s Consideration.

       If, however, the Court remains of the opinion that the release language in Paragraph 5 is

too broad to be extended to non-parties, then COEI proposes the following alternative language

to make clear that COEI and the related non-parties only receive a release from the wage claims:

       In return for the various promises included in this document, Plaintiff releases and
       fully discharges Defendant, COEI, LLC, and any of its parents, predecessors,
       subsidiaries, affiliates, and their past and present directors, officers, shareholders,
       members, employees, agents, insurers, and attorneys both individually and in their
       capacities as directors, officers, shareholders, members, employees, agents,
       insurers, and attorneys (the “Released Parties”) from all claims brought in the
       Lawsuit, including any claims for unpaid compensation, liquidated damages,
       interest, attorney’s fees, or litigation expenses associated with the Lawsuit.2

If the Court determines this alternative language is acceptable, the Parties will revise the

Settlement Agreement accordingly.

2.     Because the Paragraph 6 Acknowledgment is Not Integral, This Court Should
       Approve the Release After It is Removed.

       As noted above, the intent behind Paragraph 6 (“No Unreported Claims”) was not to

create an estoppel affording broader protection than the release. COEI is cognizant that courts in

the Middle District often disapprove settlement agreements containing broad general releases;

2
       This language is based on the language approved in Dearth, 2019 WL 1417323 at *4.


                                                     5
Case 6:19-cv-01340-CEM-GJK Document 23 Filed 01/24/20 Page 6 of 6 PageID 80



hence, it did not seek such a release. [See Doc. 21, at pp. 7-8]. The intent behind the provision

was to simply obtain a disclosure of potential claims Plaintiff was aware of. Nonetheless, the

provision would not be considered integral to the Settlement Agreement. [Doc. 21-1, at

Paragraph 17 (“Severability”) (providing that any provision other than 1-5 are severable)].

Paragraph 6 may be removed by operation of the Severability provision in Paragraph 17.

                                           CONCLUSION

         In sum, it is reasonable and appropriate to release non-parties through Paragraph 5. The

release is not an overly broad general release of any and all claims but is limited to wage claims.

There is a factual basis for including non-parties because Plaintiff has asserted against COEI as

his “employer” claims that he resolved with another “employer” with which COEI was arguably

jointly and severally liable. For these reasons, this Court should approve the release contained in

Paragraph 5. Conversely, the language in Paragraph 6 is not key to the Parties’ settlement; and

therefore, it can be severed. In short, Defendant, COEI, LLC, respectfully asks that this Court

approve the proposed settlement and dismiss this case with prejudice.

         Respectfully submitted this 24th day of January 2020.

                                                     /s/ John C. Getty
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